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                        EXHIBIT A
Tesla Model 3 scrap high at Gigafactory                  about reader?url=https://www.businessinsider.com/tesla-model-3-scrap-...
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                   businessinsider.com




                   Linette Lopez
                   10-13 minutes



                   Tesla is wasting a jaw-dropping amount of raw material and cash to
                   make the Model 3.

                   Internal documents reviewed by Business Insider show that the
                   company expects that as much as 40% of the raw materials used to
                   produce batteries and driving units manufactured at Tesla's
                   Gigafactory in Nevada need to be scrapped or reworked by
                   employees before they are sent to Tesla's factory in Fremont,
                   California, and assembled into Model 3s. The documents were
                   dated in the first quarter.

                   That is to say, for every 2,500 battery packs and driving units that
                   leave the Gigafactory, an additional 1,000 pieces of "nonconforming
                   material" is created. Half of that will be reworked and put into other
                   car parts. The other half becomes scrap.

                   Tesla has spent almost $150 million on scrap materials so far this
                   year, according to internal estimates Business Insider has seen.
                   That number does not include the overhead cost of creating that
                   scrap (energy, labor hours, etc.). Tesla reported manufacturing
                   9,766 Model 3s in the first quarter of this year.



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                   Tesla told Business Insider that $150 million was an overstatement.

                   "As is expected with any new manufacturing process, we had high
                   scrap rates earlier in the Model 3 ramp. This is something we
                   planned for and is a normal part of a production ramp," Tesla said in
                   a statement to Business Insider.

                   "Indeed, we have always explained that Model 3 margins would
                   increase after costs begin to fall from elevated scrap and other
                   early ramp issues — and they have. Our scrap rate for batteries
                   has decreased by almost 60% since January as we have improved
                   our manufacturing processes. It's also important to remember the
                   reason we scrap parts: because we want to ensure that only the
                   highest-quality parts are used to create the best vehicles for our
                   customers. This is a part of the reason why Tesla's customer-
                   satisfaction scores for Model 3 vehicle quality and condition are at
                   an all-time high of 93%."

                   Whether or not Tesla is improving its process, this kind of
                   inefficiency is expensive, especially so early in the process, industry
                   experts told Business Insider. The Gigafactory manufactures the
                   batteries and drive units (the electric motor, inverter, and gearbox)
                   that go into Tesla's new much vaunted — but also much troubled —
                   Model 3.

                   This is all a byproduct of the march to reach Tesla CEO Elon
                   Musk's manufacturing target of 5,000 Model 3s per week by July.

                   What it is not a part of is Tesla's overarching goal of building eco-
                   friendly cars, or Musk's ambition to create the most efficient and
                   technologically impressive auto-manufacturing process the world
                   has ever seen. The process has been frustrated by battery-supply
                   issues and bottlenecks, by overautomation and recalcitrant robots


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                   — and it doesn't seem as if that's over by any means.

                   "That seems like just an awful lot of money," Rebecca Lindland, a
                   senior director and executive analyst at Kelley Blue Book, told
                   Business Insider. "As an investor, I'd ask: Is this a good use of my
                   funds? And what kind of transparency is going on here?"

                   Lindland added: "When I've seen scrappage piles, it's a handful of
                   units — front bumpers, door panels, and maybe you'll see a crate of
                   20 pieces ... You can't sustain a 20% rate of scrap and expect to
                   make money."




                   In its first-quarter earnings report, Tesla told investors that it had
                   "largely overcome this bottleneck" in its battery-module line at the
                   Gigafactory.

                   But internal documents reviewed by Business Insider and an
                   employee familiar with the matter who asked to remain anonymous
                   tell a different story — one of incredible waste, hasty
                   manufacturing, and continuous problems. "Production hell," as
                   Musk has called it, is still a chaotic scramble of issues.

                   A specific example for you: In February, a misprogrammed robot
                   that handles battery modules repeatedly punctured through the
                   plastic housing (called a clamshell) and into some battery cells, the
                   employee said, adding that instead of scrapping all the modules,
                   some were fixed with adhesive and put back on the manufacturing
                   line. According to internal documents Business Insider reviewed,
                   this foible affected more than 1,000 pieces.

                   A Tesla representative said that the incident affected far fewer parts
                   and that none of the punctured ones were released back to the


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                   manufacturing process. But Business Insider reviewed an internal
                   log that showed the parts were put into hundreds of vehicles. We
                   sent Tesla an identification number for one of the cars, and the
                   company would neither confirm nor deny that the piece was in a
                   finished vehicle. It said only that if the piece were a safety concern,
                   it would not be used.

                   In mid-April, thousands of bandoliers (a part used to create battery
                   modules) were manufactured with an adhesive that was mixed
                   incorrectly, according to the employee. Images shared with
                   Business Insider show these parts sitting on the Gigafactory floor.

                   Tesla denies the claim.

                   A Tesla spokesperson said that the pieces are neither connected
                   nor energized, and that they are being. kept in a temperature-
                   controlled room. The company insisted that they they pose no
                   safety threat.

                   The cost of scrap has become so dramatic that, internally, Tesla
                   documents sometimes quantify the amount of money wasted by
                   comparing it to another eye-popping number — like the scrap cost's
                   equivalent measured in miles of $5 footlong Subway sandwiches
                   (137.11 miles, in one case).

                   Two charts showing inverter scrap costs from the start of the year
                   to the end of May were accompanied by a calculation of how many
                   new Model 3s someone could buy with the money wasted —
                   103.42 cars, to be exact.

                   A similar set of charts calculating scrap costs for rotors noted that it
                   could have purchased 4,878 hats for Musk's Boring Company,
                   priced at about $20 apiece.



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                   Business Insider also reviewed dozens of pictures of scrap piled
                   high inside the Gigafactory. Some of it is flammable material used
                   to create lithium batteries. Our source said some of these batteries
                   presented a hazard as they're connected. Tesla said that was
                   patently false, that all nonconforming materials are kept in a
                   temperature-controlled room, and that they pose no safety threat.

                   What's more, our source said that a significant amount of scrap was
                   stored at a warehouse on Gigafactory's campus off of Ireland Drive.
                   Tesla said that wasn't the case and that the Ireland Drive facility
                   houses only parts received from suppliers.




                   During Tesla's first-quarter earnings call, Musk said some of the
                   bottlenecks Tesla was experiencing were due to overautomation. To
                   fix that, he told investors, Tesla "temporarily reduced automation in
                   these areas and introduced semi-automated or manual processes."

                   Basically, he turned off some of the machines. That alone had
                   industry analysts we spoke with raising an eyebrow. Machines,
                   when useful, are supposed to provide services humans can't, like
                   consistent quality and torque, on top of lifting heavy objects. If they
                   aren't useful, though, turning them off shouldn't matter.

                   Either way, the employee told Business Insider that the process for
                   deciding what stays on and what goes off had been less than
                   scientific at times. Some machines in the Gigafactory have been
                   turned off simply because they added more time to the
                   manufacturing process than Musk liked when he observed them
                   working on the Gigafactory floor.

                   An example: In May, Gigafactory employees turned off the


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                   "criticality" of the "genealogy" on a specific component in the Tesla
                   battery pack, according to an internal email viewed by Business
                   Insider.

                   In layman's terms, that means they bypassed putting a tracking
                   system on that specific part (the bandolier) in that stage of the
                   manufacturing process to speed things up.

                   It's common practice for automakers to create a genealogy for
                   every part in a car. That way, if something goes wrong, the part's
                   source manufacturer, production time, serial number, lot number,
                   expiration date, and more can all be traced. It follows the part
                   through its entire life in the manufacturing process before it gets to
                   your car. This is especially important during recalls because it
                   ensures that companies can locate potentially defective parts.

                   Now that's no longer the case for at least one part in the
                   Gigafactory-made batteries. Tesla said they were being tracked by
                   lot number because laser-etching the parts individually was causing
                   them to be scrapped. The company did not provide Business
                   Insider the number of parts in a lot or explain why that was the
                   case. It said that while it would not get into internal procedures, any
                   modifications it made to the genealogy were to make the process
                   better.

                   "[Musk's] obsession with production speed — he might achieve it,
                   but at what cost?" Mark Schirmer of Cox Automotive said.
                   "Reaching 5,000 in June or July is going to be a small success if
                   there's further pain down the road."

                   Tesla has never turned an annual profit — a source of
                   consternation for Musk, who, though fairly intolerant of criticism,
                   has acknowledged that Tesla "isn't a real company" until it does.


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Tesla Model 3 scrap high at Gigafactory                  about reader?url=https://www.businessinsider.com/tesla-model-3-scrap-...
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                   In the first quarter, the company's net cash used in operating
                   activities increased by $328.6 million from the same period a year
                   before. This was in part because of the Model 3 ramp-up. Expense
                   has not been spared, but what investors should ask themselves is:
                   Could it have been?

                   "If he's going to be an auto manufacturer, he has to be held to auto-
                   manufacturing standards," Lindland said. "If Honda or GM had
                   these kinds of scrappage rates or waste, Wall Street wouldn't stand
                   for that ... Nobody would be saying, 'You're just a hater.'"

                   If you have more information about manufacturing at Tesla, feel free
                   to give me a shout at llopez@businessinsider.com.




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                    businessinsider.com




                    Linette Lopez
                    5-6 minutes




                    Flickr/jurvetson

                    The robots Tesla had flown to its Nevada Gigafactory to hasten
                    the building of Model 3 batteries are not yet fully operational,
                    according to a source inside Tesla who provided Business
                    Insider with video.



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Tesla's new Gigafactory robots are not making batteries yet   about:reader?url=https://www.businessinsider.com/teslas-new-gigafactor...
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                    The robots are part of the company's plan to ramp up Model 3
                    production and build 5,000 Model 3s by the end of June.

                    A Tesla spokesperson disputed that the robots were supposed
                    to be operational by this Sunday, contradicting Business
                    Insider's source.

                    The new robots at Tesla's Gigafactory, which CEO Elon Musk said
                    would play a key role in ramping up Model 3 production, are not yet
                    up and running.

                    One massive machine meant to put together the modules that
                    make up Tesla's battery packs is still not fully operational. Tesla
                    aimed to have the new machine working by this weekend,
                    according to a source at the company who requested anonymity.
                    Business Insider has also seen video of the dormant machine, and
                    at the time of this article's publication, it was still in test mode.

                    A spokesperson from Tesla told Business Insider confirmed that the
                    robots are not yet operational, however, they disputed the idea that
                    the robots were supposed to be up and running by Sunday. The
                    spokesperson said the equipment was delivered before Memorial
                    Day and has been getting installed during the last two weeks.

                    This machine was part of a high stakes, rare and expensive aerial
                    delivery by auto industry standards. Tesla had it delivered in an
                    effort to achieve its goal of getting the Gigafactory to produce
                    enough batteries to make 5,000 Model 3 cars a week by the end of
                    June.

                    Musk said that the Gigafactory was currently only a one-third of its
                    planned size and that once it was completed it would be the biggest
                    factory in the world.



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                    "This one factory is making more batteries than all the other
                    factories on Earth," Musk said. "It's like, epic. it's like two hours to
                    walk through everything."

                    At Tesla's shareholder meeting on Tuesday, the company's CEO
                    Elon Musk reaffirmed that Model 3 production has been difficult, but
                    also said that that the company could reach its 5,000 car target with
                    the two general assembly lines it currently has. The company is
                    currently adding a third assembly line at its Fremont factory and
                    Musk said that with this new line, he was "very confident" the
                    company would hit the target.

                    That may be true, but internal documents leaked to Business
                    Insider show that that has come at an incredible cost. Tesla is
                    scrapping an eye-popping amount of material in order to make the
                    Model 3. Emails dating from the first quarter show that as much as
                    40% of what the Gigafactory was manufacturing into drive units and
                    batteries ended up as nonconforming material.

                    Of that nonconforming material half would be reworked while the
                    other half was scrapped. Internal estimates show the Gigafactory
                    had blown through at least $150 million in scrap from the beginning
                    of this year to the end of May.

                    Tesla disputed the $150 million number saying it was a gross
                    exaggeration. It also said that it has decreased its scrap rate
                    dramatically since the beginning of the year.

                    If you have more information about manufacturing at Tesla, feel free
                    to give me a shout at llopez@businessinsider.com.

                    Get the latest Tesla stock price here.




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                                                            WILLIAM M. FISCHBACH
                                                            SHAREHOLDER
                                                            DIRECT LINE: (602) 255-6036
                                                            E-mail: wmf@tblaw.com

Offices in:
Phoenix, Arizona
Las Vegas, Nevada
San Diego, California
Albuquerque, New Mexico


                                   September 23, 2019

Sean Gates (sgates@charislex.com)
Douglas Beteta (dbeteta@charislex.com)
Charis Lex P.C.
16 N. Marengo Ave., Suite 300
Pasadena, CA 91101

        Re:     Tesla v. Tripp Case No. 3:18-cv-00296-LRH-CBC
                Deposition of Elon Musk

Dear Messrs. Gates and Beteta:

       It was previously agreed between counsel, with the Court’s endorsement, that the
parties would complete the Rule 30(b)(6) depositions before we address the deposition of
Elon Musk, even if that occurred after the formal discovery cutoff on September 9, 2019.
At 11:00 A.M. on September 12, 2019, Mr. Gates and I held a telephonic meet and confer
regarding this topic. Mr. Gates requested that we provide a general list of topics for Elon
Musk’s deposition, as well as consider a time limitation. This letter is in response to that
request.

       Elon Musk’s deposition may include “any nonprivileged matter that is relevant to
any party’s claim or defense and proportional to the needs of the case,” Fed. R. Civ. P.
26(b)(1), including the following topics:

       Any statements made by Elon Musk regarding Martin Tripp.

       Any written or e-mail communications disclosed by Tesla to or from Elon Musk.

       Elon Musk’s knowledge of Tesla’s investigation of Martin Tripp.

       Elon Musk’s knowledge of the matters alleged in Tesla’s Complaint and Mr.
        Tripp’s Counterclaim.
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    Elon Musk’s knowledge of the alleged threat to “shoot up” the Gigafactory,
     including any statements made to third parties by Elon Musk and Tesla regarding
     the alleged threat.

    Any efforts by Elon Musk to publicly criticize, threaten legal action against, or
     undermine the public or professional standing of critics of Elon Musk or Tesla,
     including without limitation Vernon Unsworth and Lawrence Fossi (aka Montana
     Skeptic).

    Any matter bearing on Elon Musk’s credibility or biases, which are always
     relevant.

       Regarding duration, we are willing to stipulate to limit Elon Musk’s deposition to
four (4) hours. This is substantially less than the presumed limit of seven (7) hours
afforded under Rule 30(d)(1).

        Finally, in terms of timing, we anticipate that Elon Musk’s deposition testimony
will be relevant and necessary in responding to Tesla’s forthcoming motion for summary
judgment. Given the dispositive motion deadline of October 9, 2019, we would need to
conduct Elon Musk’s deposition sometime in late October. Accordingly, please let us
know no later than Friday, September 27, 2019 if Tesla will make Elon Musk available
for his deposition under the conditions above.

                                         Very truly yours,

                                         TIFFANY & BOSCO, P.A.




                                         William M. Fischbach
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